               IN THE UNITED STATES DISTRICT COURT
           FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


ALTRIA CLIENT SERVICES LLC and
U.S. SMOKELESS TOBACCO COMPANY LLC,

                        Plaintiffs,              Civil Action No: 20-CV-472

v.                                               DEMAND FOR JURY
                                                 TRIAL
R.J. REYNOLDS VAPOR COMPANY,

                        Defendant.


               COMPLAINT FOR PATENT INFRINGEMENT


Brian E. Ferguson *                   Robert C. Van Arnam
Robert T. Vlasis III *                N.C. Bar No. 28838
W. Sutton Ansley *                    Andrew R. Shores
Stephen P. Bosco *                    N.C. Bar. No. 46600
Stephanie Adamakos *                  WILLIAMS MULLEN
WEIL, GOTSHAL & MANGES LLP            301 Fayetteville Street
2001 M Street, NW, Suite 600          Suite 1700
Washington, DC 20036                  Raleigh, NC 27601
Tel: (202) 682-7000                   Tel: (919) 981-4000

Adrian C. Percer *                    Elizabeth S. Weiswasser *
Robert S. Magee *                     Anish R. Desai *
WEIL, GOTSHAL & MANGES LLP            WEIL, GOTSHAL & MANGES LLP
201 Redwood Shores Parkway            767 5th Avenue
Redwood Shores, CA 94065              New York, NY 10153
Tel: (650) 802-3000                   Tel: (212) 310-8000

                                      Counsel for Plaintiffs Altria Client
                                      Services LLC and U.S. Smokeless Tobacco
                                      Company LLC.

                                      * Special Appearance Under Local Rule
                                      83.1(d) in process




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         For their Complaint against Defendant R.J. Reynolds Vapor Company (“Reynolds

Vapor” or “Defendant”), Plaintiffs Altria Client Services LLC and U.S. Smokeless

Tobacco Company LLC (collectively, “Altria” or “Plaintiffs”) allege as follows:

                               NATURE OF THE ACTION

         1.    This is an action for infringement of United States Patent Nos. 7,798,319;

8,458,996; 8,556,070; 10,143,242; 10,264,824; 10,299,517; 10,485,269; 10,492,541; and

10,588,357 (collectively, “the Asserted Patents”) under the United States Patent Laws, 35

U.S.C. § 100 et seq.

         2.    Altria brings this action against Reynolds Vapor because of its systematic

infringement of Altria’s valuable patent rights. As explained herein, Reynolds Vapor

products, including its “VUSE” e-vapor line and its “VELO” smokeless pouches, infringe

claims in one or more of the Asserted Patents. Reynolds Vapor is aware of Altria’s

valuable patents and nonetheless has infringed and continues to infringe them. As such,

Reynolds Vapor is liable to Altria for monetary damages as a result of its infringement.

                                      THE PARTIES

         3.    Plaintiff Altria Client Services LLC is a Virginia corporation with its

principal place of business located at 6601 West Broad Street, Richmond, Virginia

23230.

         4.    Plaintiff U.S. Smokeless Tobacco Company LLC is a Virginia corporation

with its principal place of business located at 6601 West Broad Street, Richmond,

Virginia 23230.




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       5.     Defendant Reynolds Vapor is a North Carolina corporation with its

principal place of business located at 401 North Main Street, Winston-Salem, North

Carolina 27101.

       6.     Upon information and belief, Reynolds Vapor is a wholly-owned subsidiary

of Reynolds American Inc., which in turn is a wholly-owned subsidiary of British

American Tobacco plc, a publicly-traded company on the London Stock Exchange

headquartered in London, England.

                              JURISDICTION AND VENUE

       7.     This action arises under the patent laws of the United States, Title 35 of the

United States Code. This Court has subject matter jurisdiction of this action pursuant to

28 U.S.C. §§ 1331 and 1338(a).

       8.     This Court has personal jurisdiction over Reynolds Vapor because it is

incorporated in North Carolina and has its principal place of business located in this

District. Personal jurisdiction is also proper because Reynolds Vapor has committed

infringing acts within this District.

       9.     Venue is proper in this District under 28 U.S.C. § 1400(b) because

Reynolds Vapor resides in this District and has its principal place of business in this

District, and because Reynolds Vapor has a regular and established place of business in

this District and has committed infringing acts within this District.




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                               THE ASSERTED PATENTS

       10.    On September 21, 2010, the United States Patent and Trademark Office

duly and legally issued U.S. Patent No. 7,798,319, entitled “Container Device for

Tobacco Articles” (“the 319 Patent”). A true and accurate copy of the 319 Patent is

attached as Exhibit A.

       11.    U.S. Smokeless Tobacco Company LLC is the owner by assignment of all

right, title, and interest in and to the 319 Patent, including the right to sue for and collect

past damages.

       12.    The 319 Patent is valid and enforceable.

       13.    On June 11, 2013, the United States Patent and Trademark Office duly and

legally issued U.S. Patent No. 8,458,996, entitled “Container Device for Tobacco

Articles” (“the 996 Patent”). A true and accurate copy of the 996 Patent is attached as

Exhibit B.

       14.    U.S. Smokeless Tobacco Company LLC is the owner by assignment of all

right, title, and interest in and to the 996 Patent, including the right to sue for and collect

past damages.

       15.    The 996 Patent is valid and enforceable.

       16.    On October 15, 2013, the United States Patent and Trademark Office duly

and legally issued U.S. Patent No. 8,556,070, entitled “Container Device for Tobacco

Articles” (“the 070 Patent”). A true and accurate copy of the 070 Patent is attached as

Exhibit C.




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       17.      U.S. Smokeless Tobacco Company LLC is the owner by assignment of all

right, title, and interest in and to the 070 Patent, including the right to sue for and collect

past damages.

       18.      The 070 Patent is valid and enforceable.

       19.      On December 4, 2018, the United States Patent and Trademark Office duly

and legally issued U.S. Patent No. 10,143,242, entitled “Cartomizer Flavor

Enhancement” (“the 242 Patent”). A true and accurate copy of the 242 Patent is attached

as Exhibit D.

       20.      Altria Client Services LLC is the owner by assignment of all right, title, and

interest in and to the 242 Patent, including the right to sue for and collect past damages.

       21.      The 242 Patent is valid and enforceable.

       22.      On April 23, 2019, the United States Patent and Trademark Office duly and

legally issued U.S. Patent No. 10,264,824, entitled “Cartridge Assembly for an Electronic

Vaping Device” (“the 824 Patent”). A true and accurate copy of the 824 Patent is

attached as Exhibit E.

       23.      Altria Client Services LLC is the owner by assignment of all right, title, and

interest in and to the 824 Patent, including the right to sue for and collect past damages.

       24.      The 824 Patent is valid and enforceable.

       25.      On May 28, 2019, the United States Patent and Trademark Office duly and

legally issued U.S. Patent No. 10,299,517, entitled “Pod Assembly, Dispensing Body,




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and E-Vapor Apparatus Including the Same” (“the 517 Patent”). A true and accurate copy

of the 517 Patent is attached as Exhibit F.

       26.    Altria Client Services LLC is the owner by assignment of all right, title, and

interest in and to the 517 Patent, including the right to sue for and collect past damages.

       27.    The 517 Patent is valid and enforceable.

       28.    On November 26, 2019, the United States Patent and Trademark Office

duly and legally issued U.S. Patent No. 10,485,269, entitled “Pod Assembly, Dispensing

Body, and E-Vapor Apparatus Including the Same” (“the 269 Patent”). A true and

accurate copy of the 269 Patent is attached as Exhibit G.

       29.    Altria Client Services LLC is the owner by assignment of all right, title, and

interest in and to the 269 Patent, including the right to sue for and collect past damages.

       30.    The 269 Patent is valid and enforceable.

       31.    On December 3, 2019, the United States Patent and Trademark Office duly

and legally issued U.S. Patent No. 10,492,541, entitled “Pod Assembly, Dispensing

Body, and E-Vapor Apparatus Including the Same” (“the 541 Patent”). A true and

accurate copy of the 541 Patent is attached as Exhibit H.

       32.    Altria Client Services LLC is the owner by assignment of all right, title, and

interest in and to the 541 Patent, including the right to sue for and collect past damages.

       33.    The 541 Patent is valid and enforceable.

       34.    On March 17, 2020, the United States Patent and Trademark Office duly

and legally issued U.S. Patent No. 10,588,357, entitled “Pod Assembly, Dispensing




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Body, and E-Vapor Apparatus Including the Same” (“the 357 Patent”). A true and

accurate copy of the 357 Patent is attached as Exhibit I.

       35.    Altria Client Services LLC is the owner by assignment of all right, title, and

interest in and to the 357 Patent, including the right to sue for and collect past damages.

       36.    The 357 Patent is valid and enforceable.

       REYNOLDS VAPOR’S INFRINGING VUSE E-VAPOR PRODUCTS

       37.    Upon information and belief, Reynolds Vapor designs, manufactures,

imports, offers for sale, and sells battery-powered e-vapor devices and associated liquid-

filled inserts marketed under the name “VUSE” (collectively, “the Accused VUSE Vapor

Products”) in the U.S. See https://vusevapor.com. The acts of making, using, selling,

and offering for sale the Accused VUSE Vapor Products in the U.S., and the act of

importing the same into the U.S., constitute infringement of some of the Asserted Patents

as detailed in the Counts below.

       38.    There are at least two models of the Accused VUSE Vapor Products that

infringe one or more of the Asserted Patents, as described in detail in the below Counts.

The two models and associated “Flavor Packs” (which Reynolds Vapor also refers to as

“cartridges,” “tanks,” and “pods”) are the following: (a) the VUSE ALTO Power Unit

and associated liquid-filled “Flavor Pack” pods (“the Accused VUSE ALTO Products”);

and (b) the VUSE VIBE Power Unit and associated liquid-filled “Flavor Pack” tanks

(“the Accused VUSE VIBE Products”). The Accused VUSE Vapor Products are

described in more detail in the following paragraphs.




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      39.      The Accused VUSE ALTO Products are shown below:




            Accused VUSE ALTO Power Unit, Flavor Pack Pods, and Packaging


      40.      The VUSE ALTO Power Unit is charged through a USB connector that is

provided in the Power Unit kit. Reynolds Vapor markets and sells the VUSE ALTO in a

“Complete Kit” containing a “Power Unit,” USB charger, and one or more “Flavor Pack”

pods. Reynolds Vapor also markets and sells the VUSE ALTO Power Unit and USB

charger without any Flavor Pack pods. The Flavor Pack pods are also sold separately, for



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example, in packages containing two Flavor Pack pods. The Flavor Pack pods currently

available for purchase and use with the VUSE ALTO Power Unit include “Menthol,”

“Golden Tobacco,” and “Rich Tobacco” flavors. The Flavor Pack pods are also sold with

different levels of nicotine (e.g., 1.8%, 2.4%, or 5%).

       41.      The Accused VUSE VIBE Products are shown below:




             Accused VUSE VIBE Power Unit, Flavor Pack Tanks, and Packaging

       42.      The VUSE VIBE Power Unit is charged through a USB connector that is

provided in the power unit kit. Reynolds Vapor markets and sells the VUSE VIBE in a

“Complete Kit” containing a ”Power Unit,” USB charger, and one or more “Flavor Pack”



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tanks. Reynolds Vapor also markets and sells the VUSE VIBE Power Unit and USB

charger without any Flavor Pack tanks. The Flavor Pack tanks are also sold separately,

for example, in packages containing two Flavor Pack tanks. The Flavor Pack tanks

currently available for purchase and use with the VUSE VIBE Power Unit include

“Menthol” and “Original” flavors.

       43.    The Accused VUSE Vapor Products are strategically and economically

important to Reynolds Vapor and its parent companies, Reynolds American Inc. (“RAI”)

and British American Tobacco plc (“BAT”). When it announced the launch of the first

VUSE Vapor Product, the President of Reynolds Vapor called VUSE a “game-changing

product in the e-cigarette category.” Reynolds Vapor has promoted the Accused VUSE

Vapor Products through advertisements in magazines and newspapers, on television, via

direct-mail marketing, and on the Internet. A Reynolds Vapor executive described the

opportunity to sell the VUSE Vapor Products to U.S. consumers as a “marketer’s dream.”

       44.    The Accused VUSE Vapor Products achieved early success; by 2015

VUSE Vapor Products were the best-selling product in the e-vapor category in the United

States. Following that success, VUSE’s share of the e-vapor category in the United States

by 2018 fell below 10 percent, as a result of the success of Juul Lab’s “Juul” vaping

device.

       45.    Reynolds Vapor responded by introducing the Accused VUSE ALTO

Product in July 2018, which it described as a “pod mod” e-vapor device similar to the




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Juul vaping delivery mechanism. BAT told investors that the VUSE ALTO was a key

element of its “vapor reimagined” promotional campaign.

       46.   The Accused VUSE ALTO Product achieved wide success. BAT told

investors in November 2019 that the Accused VUSE ALTO Product was growing

volume in the U.S. even when the e-vapor market was declining. BAT’s Finance

Director stated that he was “very, very happy with the performance” of the VUSE Vapor

Products in the U.S., noting specifically that the Accused VUSE ALTO Product had

doubled Reynolds Vapor’s market share in just three months.

       47.   BAT reiterated the “success” of the Accused VUSE ALTO Product in its

February 2020 earnings call with investors. During its March 2020 “Capital Markets

Day,” BAT executives continued to laud the success of the Accused VUSE Vapor

Products. Describing the U.S. as the “most important market,” a BAT executive stated

that during the last reporting period “65% of all new device kits that were sold were from

Vuse and as a result we have been consistently growing share in the last six months,

tripling our Alto share and doubling our Vuse share over that six months period.”

       48.   The success of the Accused VUSE Vapor Products is attributable to those

products embodying the inventions described and claimed in some of the Asserted

Patents.

                   REYNOLDS VAPOR’S PMTA SUBMISSIONS

       49.   In July 2017, the Food and Drug Administration (“FDA”) announced a

“Comprehensive Plan for Tobacco and Nicotine Regulation” (“FDA Plan”) that endorsed




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the concept of a “continuum of risk” among tobacco products, with combustible products

(such as conventional cigarettes) at one end as most harmful, and nicotine replacement

therapies on the other end as least harmful. See www.fda.gov/tobacco-products/ctp-

newsroom/fdas-comprehensive-plan-tobacco-and-nicotine-regulation.

      50.    The FDA Plan recognized that combustion, not nicotine, is the most

significant harm associated with tobacco use and acknowledged the important role for

nicotine-containing, non-combustible products. The FDA sought to “strik[e] an

appropriate balance between regulation and encouraging development of innovative

tobacco products that may be less dangerous than cigarettes.” See

https://wayback.archive-

it.org/7993/20190423050614/https://www.fda.gov/NewsEvents/Newsroom/PressAnnoun

cements/ucm568923.htm. The FDA Commissioner at the time stated that the goal was to

“move addicted smokers down that continuum of risk to these less harmful products.”

June 28, 2017 Remarks by FDA Commissioner Scott Gottlieb; see www.fda.gov/news-

events/speeches-fda-officials/protecting-american-families-comprehensive-approach-

nicotine-and-tobacco-06282017.

      51.    In conjunction with the FDA Plan and in response to growing concern over

the unregulated marketing and sale of e-vapor products, on June 19, 2019 the FDA issued

final guidance for the submission of premarket tobacco product applications (“PMTAs”)

for “electronic nicotine delivery systems” (“ENDS”), which includes e-cigarettes and

vaping devices. The acting FDA Commissioner at the time stated that the FDA’s




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“ongoing oversight of e-cigarettes and other ENDS products is critical to our public

health mission,” and that the FDA was “committed to providing a solid, science-based

regulatory foundation to ensure that ENDS products authorized for marketing are

appropriate for the protection of public health.” See www.fda.gov/news-events/press-

announcements/fda-finalizes-guidance-premarket-tobacco-product-applications-

electronic-nicotine-delivery-systems.

       52.    At the time the FDA issued its final guidance, the acting FDA

Commissioner noted that there were “no authorized e-cigarettes currently on the market

and [the FDA] encourage[s] companies to use this valuable document now as a guide to

submit applications.” Id. Thereafter, the United States District Court of the District of

Maryland issued an order requiring makers and importers of e-cigarettes and other ENDS

to submit PMTAs to the FDA by May 11, 2020. See American Academy of Pediatrics v.

Food and Drug Admin., Case No. PWG-18-883, Memorandum Op. and Order (July 12,

2019) (D. Md.) (“Order”); see also www.fda.gov/news-events/press-

announcements/statement-agencys-actions-tackle-epidemic-youth-vaping-and-court-

ruling-application-submission. On April 22, 2020, in response to the FDA’s request, the

Maryland Court extended the deadline to submit PMTAs to September 9, 2020. See

www.fda.gov/news-events/press-announcements/coronavirus-covid-19-update-court-

grants-fdas-request-extension-premarket-review-submission-deadline.

       53.     The PMTA pathway provides demanding requirements for authorization

of a new tobacco product for harm reduction, requiring the submission of extensive data




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and information demonstrating that the proposed new product protects the public health.

This showing must be made “with respect to the risks and benefits to the population as a

whole,” taking into account “the increased or decreased likelihood that existing users of

tobacco products will stop using such products… [and] that those who do not use tobacco

products will start using such products.” See Federal Food, Drug, and Cosmetic Act §

910(c)(4).

       54.    In response to the Order, Reynolds Vapor did not withdraw the Accused

VUSE Vapor Products from the U.S. market, but instead submitted PMTAs requesting

the ability to continue to sell the products in the United States. During a February 27,

2020 earnings call, BAT’s Chief Executive stated that its “first priority” was to submit

PMTAs for its e-vapor products, including the Accused VUSE Vapor Products. Upon

information and belief, a PMTA has been submitted for at least the VUSE VIBE. The

BAT investor report characterized BAT/Reynolds Vapor as being in a “very strong

position” as a result of the PMTA submissions. Indeed, during the February 27, 2020

earnings call, BAT’s Chief Executive reiterated that Reynolds Vapor was “well-

positioned” and “in a very strong position” in the U.S. market by the end of the PMTA

submission deadline, estimating potentially £1.5 billion (~$1.85 billion) of revenue to

“materialize in 2021.” Reynolds Vapor planned to achieve such sales in part through

“direct-to-consumer” and “e-commerce” efforts.

       55.    Reynolds Vapor’s commitment to continue to make, use, sell, offer for sale,

and/or import the Accused VUSE Vapor Products in the U.S. demonstrates that Reynolds




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Vapor intends to continue to infringe the Asserted Patents, as set forth in the Counts

below.

               REYNOLDS VAPOR’S INFRINGING VELO PRODUCTS

         56.   Upon information and belief, Reynolds Vapor designs, manufactures and/or

has manufactured for it, imports, offers for sale, and sells packaged smokeless nicotine

pouches marketed under the name “VELO” (collectively, “the Accused VELO

Products”) in the U.S. See https://www.velo.com. The acts of making, using, selling, and

offering for sale the Accused VELO Products in the U.S., and the act of importing the

same into the U.S., constitute infringement of some of the Asserted Patents as detailed in

the Counts below.

         57.   There are at least two varieties of Accused VELO Products that infringe

one or more of the Asserted Patents, as described in detail in the below Counts: VELO

Citrus and VELO Mint. Each variety is available in either 2 or 4 mg nicotine dosages.

Upon information and belief, the Accused VELO Products comprise one or more

pouches of nicotine extracted from tobacco plants and mixed with, inter alia, artificial

flavors. The pouches are held in a container having a non-hermetic seal that keeps the

pouches fresh for consumer use.

         58.   The Accused VELO Products are depicted below:




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                  Accused VELO Products in Citrus and Mint Flavors

      59.    Upon information and belief, the Accused VELO Products are strategically

and economically important to Defendant and its parent companies, RAI and BAT.

During its Investor Day on March 14, 2019, BAT noted to investors that the Accused

VELO Products offered “new opportunities for growth, expansion, and innovation,” and

pointed out that such oral tobacco products were a “high margin business” “contributing

strong profit.” With respect to the Accused VELO Products, BAT was planning a

summer 2019 rollout with a “disruptive campaign, digital activation, and ATC

engagement platforms to build awareness.”

      60.    At its February 27, 2020 earnings call, BAT’s Chief Executive stated that

there had been “very good performance with the Velo brand” and he was “very pleased

with the results” of the summer 2019 rollout.




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       61.   During its Capital Markets day on March 18, 2020, a BAT executive stated

that oral products such as the Accused VELO Products had a “large global potential,” and

that the Accused VELO Products were “the fastest growing brand in the United States”

since their launch in July 2019. The BAT executive further states that all of BAT’s

“modern oral” products would be migrating to a “single global brand in Velo” and BAT

was “very confident in the future of Velo.”

       62.   The success of the Accused VELO Products is attributable to those

products embodying the inventions described and claimed in some of the Asserted

Patents.

 REYNOLDS VAPOR KNOWS OF THE ASSERTED PATENTS, KNOWS AND
 SPECIFICALLY INTENDS THAT THE ACCUSED VUSE VAPOR PRODUCTS
  AND ACCUSED VELO PRODUCTS INFRINGE THE ASSERTED PATENTS,
   AND KNOWS THAT THOSE PRODUCTS ARE ESPECIALLY MADE OR
    ESPECIALLY ADAPTED FOR USE IN INFRINGING THE ASSERTED
                          PATENTS

       63.   Upon information and belief, Defendant knows of the Asserted Patents.

First, upon information and belief, Defendant regularly surveys the patent literature—and

especially that of competitors—for relevant patents and has encountered the Asserted

Patents. Second, this complaint informs Defendant about the Asserted Patents. Third,

upon information and belief, all of the Asserted Patents and/or their family members have

been cited during prosecution of Defendant’s own patents.

       64.   Upon information and belief, Defendant knows and specifically intends that

its actions—including providing instructions with its products—induce actual

infringement of the Asserted Patents. First, upon information and belief, Defendant



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analyzes whether it has freedom to operate and therefore has considered whether its

actions induce others to infringe the Asserted Patents. Second, this complaint informs

Defendant that its actions induce infringement.

       65.    Upon information and belief, Defendant knows that each of the elements in

the Accused Products are especially made or especially adapted for use in an

infringement of the Asserted Patents and is not a staple article or commodity of

commerce suitable for substantial noninfringing use. First, upon information and belief,

Defendant analyzes whether it has freedom to operate and therefore has considered

whether its actions contribute to others infringing the Asserted Patents. Second, this

complaint informs Defendant of its infringement.


                               COUNT I
                 INFRINGEMENT OF U.S. PATENT NO. 10,143,242

       66.    Plaintiffs re-allege and incorporate by reference the allegations of the

preceding paragraphs of this Complaint as if fully set forth herein.

       67.    The Accused VUSE VIBE Products directly infringe under 35 U.S.C. §

271, literally or under the doctrine of equivalents, one or more claims of the 242 Patent

(including at least claims 1-6 and 8-9). Reynolds Vapor makes, uses, sells, offers to sell,

and/or imports the Accused VUSE VIBE Products in the United States, including in this

Judicial District and elsewhere. See, e.g., https://vusevapor.com/vibe-complete-kit (Vibe

Complete Kit (Power Unit + Flavor Pack), https://vusevapor.com/devices/vibe/flavors

(Vibe Flavor Pack Tanks), https://vusevapor.com/vibe-power-unit (Vibe Power Unit).




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       68.    Set forth below is a non-limiting description of the direct infringement of

claim 1 of the 242 Patent by Defendant in connection with the Accused VUSE VIBE

Products. The description is based on publicly available information. Plaintiffs reserve

the right to modify the description, including, for example, on the basis of information

about the Accused VUSE VIBE Products that it obtains during discovery.

Claim 1

An electronic vaping device comprising:

       69.    The Accused VUSE VIBE Products comprise an electronic vaping device.




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https://vusevapor.com/vibe-complete-kit (annotated in yellow).




https://vusevapor.com/faqs (annotated in yellow).




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a battery portion, the battery portion including a battery configured to provide power to
the electronic vaping device,

       70.    The Accused VUSE VIBE Products include a “Power Unit,” which

comprises a battery portion having a battery configured to provide power to the electronic

vaping device.




https://vusevapor.com/vibe-complete-kit (annotated in yellow).




https://vusevapor.com/faqs (annotated in yellow).




                   The Accused VUSE VIBE Products (Battery Shown)

the battery portion including an air-flow sensor,

       71.    The Accused VUSE VIBE Products comprise a battery portion including an

air-flow sensor.




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               The Accused VUSE VIBE Products (Airflow Sensor Shown)

the battery portion including circuitry linked to the air-flow sensor,

       72.    The Accused VUSE VIBE Products comprise a battery portion including

circuitry linked to an air-flow sensor.




         The Accused VUSE VIBE Products (Airflow Sensor Linked to Circuitry)

the battery portion including one or more electronic chips;

       73.    The Accused VUSE VIBE Products comprise a battery portion including

one or more electronic chips.



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              The Accused VUSE VIBE Products (Electronic Chips Shown)

a cartridge configured to be coupled with the battery portion,

      74.    The Accused VUSE VIBE Products comprise a cartridge configured to be

coupled with the battery portion.




    The Accused VUSE VIBE Products (Original Cartridge (Mouthpiece Removed))




   The Accused VUSE VIBE Products (Cartridge End (Left) and Battery Portion End
                                   (Right))




       The Accused VUSE VIBE Products (Cartridge Coupled to Battery Portion)



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the cartridge configured to generate a dispersion that is added to air flow through the
cartridge,

       75.    The Accused VUSE VIBE Products comprise a cartridge configured to

generate a dispersion that is added to air flow through the cartridge.




             The Accused VUSE VIBE Products (Air Flow Through Cartridge)




https://vusevapor.com/faqs (annotated in yellow).

the cartridge including a heating coil wrapped around a wick,

       76.    The Accused VUSE VIBE Products comprise a cartridge including a

heating coil wrapped around a wick.




                                             24
     Case 1:20-cv-00472-NCT-JLW Document 1 Filed 05/28/20 Page 25 of 136
               The Accused VUSE VIBE Products (Wick and Heating Coil Shown)

the cartridge including an airflow tube and an outer housing,

         77.     The Accused VUSE VIBE Products comprise a cartridge with an airflow

tube.




               The Accused VUSE VIBE Products (Cartridge Airflow Tube Shown)




                                            25
        Case 1:20-cv-00472-NCT-JLW Document 1 Filed 05/28/20 Page 26 of 136
      78.     The Accused VUSE VIBE Products include a cartridge with an outer

housing.




            The Accused VUSE VIBE Products (Cartridge with Outer Housing)




   The Accused VUSE VIBE Products (Cartridge– Exploded View) (Liquid Removed)

the cartridge being filled with liquid; and

      79.     The Accused VUSE VIBE Products comprise a cartridge filled with liquid.




            The Accused VUSE VIBE Products (Cartridge Containing Liquid)




                                              26
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https://vusevapor.com/vibe-complete-kit (annotated in yellow).

a mouthpiece connected to the cartridge,

       80.    The Accused VUSE VIBE Products comprise a mouthpiece connected to a

cartridge.




                     The Accused VUSE VIBE Products (Mouthpiece)




        The Accused VUSE VIBE Products (Mouthpiece Connected to Cartridge)

the mouthpiece being attached to an outer surface of the cartridge, and

       81.    The Accused VUSE VIBE Products comprise a mouthpiece attached to the

outer surface of a cartridge.




                                           27
     Case 1:20-cv-00472-NCT-JLW Document 1 Filed 05/28/20 Page 28 of 136
         The Accused Vibe Device (Mouthpiece Attached to Cartridge Exterior)

an end region of the cartridge extending into the mouthpiece such that the mouthpiece
surrounds at least a portion of the end region of the cartridge.

       82.    The Accused VUSE VIBE Products comprise a mouthpiece surrounding at

least a portion of the end region of a cartridge.




              The Accused Vibe Device (Mouthpiece Surrounding Cartridge)

       83.    Reynolds Vapor has also indirectly and is indirectly infringing at least

claims 1-6, 8, and 9 of the 242 Patent.




                                              28
     Case 1:20-cv-00472-NCT-JLW Document 1 Filed 05/28/20 Page 29 of 136
       84.    Reynolds Vapor induces infringement of the 242 Patent by its customers

under 35 U.S.C. § 271(b) by encouraging those customers to use the Accused VUSE

VIBE Products, which Reynolds Vapor knows infringes the 242 Patent. Reynolds Vapor

has had knowledge of the 242 Patent since at least the filing of this lawsuit and knew or

should have known that the use of the Accused VUSE VIBE Products by its customers

directly infringes. The Accused VUSE VIBE Products infringe as shown above.

Reynolds Vapor on its website and in the Accused VUSE VIBE Products’ packaging,

direct, instruct, and encourage customers of the Accused VUSE VIBE Products to use the

Accused VUSE VIBE Products.




                The Accused VUSE VIBE Products (Instructions for Use)



                                            29
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See also https://vusevapor.com/faqs (“Vuse Vibe pre-filled tanks are translucent, so you

can see when the liquid is nearing the bottom of the tank, indicating it is time for a

replacement.”).

       85.    Reynolds Vapor also contributes to infringement of the 242 Patent under 35

U.S.C. § 271(c). Reynolds Vapor has had knowledge of the 242 Patent since at least the

filing of this lawsuit and knew or should have known that the use of the Accused VUSE

VIBE Products by its customers directly infringes. The Accused VUSE VIBE Products,

including but not limited to the VUSE VIBE Flavor Pack tanks, have no substantial non-

infringing uses, are not a staple article of commerce, and are specially made and adapted

for use in an infringing manner. For example, the Accused VUSE VIBE Products

infringe as shown above. See Instructions Included with Packaging for Vibe Kit (pictured

above). See also https://vusevapor.com/faqs (“Vuse Vibe pre-filled tanks are translucent,

so you can see when the liquid is nearing the bottom of the tank, indicating it is time for a

replacement.”).

       86.    Reynolds Vapor’s infringement of the 242 Patent has been and continues to

be deliberate, willful, and unlicensed, permitting Plaintiffs to seek enhanced damages

under 35 U.S.C. § 284.

       87.    Reynolds Vapor’s infringement of the 242 Patent has been and continues to

be deliberate, willful, and unlicensed, rendering this an exceptional case and permitting

Plaintiffs to seek attorney fees and costs under 35 U.S.C. § 285.




                                             30
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       88.    As a direct and proximate result of Reynolds Vapor’s infringement of the

242 Patent, Plaintiffs have suffered monetary damages in an amount yet to be

determined.


                               COUNT II
                 INFRINGEMENT OF U.S. PATENT NO. 10,264,824

       89.    Plaintiffs re-allege and incorporate by reference the allegations of the

preceding paragraphs of this Complaint as if fully set forth herein.

       90.    The Accused VUSE VIBE Products directly infringe under 35 U.S.C. §

271, literally or under the doctrine of equivalents, one or more claims of the 824 Patent

(including at least claims 1, 3-7, 9-10, 12-16, 18). By way of example, Reynolds Vapor

makes, uses, sells, offers to sell, and/or imports the Accused VUSE VIBE Products in the

United States, including in this Judicial District and elsewhere. See, e.g.,

https://vusevapor.com/vibe-complete-kit (Vibe Complete Kit (Power Unit + Flavor

Pack), https://vusevapor.com/devices/vibe/flavors (Vibe Flavor Pack Tanks),

https://vusevapor.com/vibe-power-unit (Vibe Power Unit).

       91.    Set forth below is a non-limiting description of the direct infringement of

claim 1 by Reynolds Vapor in connection with the Accused VUSE VIBE Products. The

description is based on publicly available information. Altria reserves the right to modify

the description, including, for example, on the basis of information about the Accused

VUSE VIBE Products that it obtains during discovery.




                                             31
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Claim 1

A cartridge assembly for coupling to a battery portion of an electronic vaping device,
the cartridge assembly comprising:

       92.    The Accused VUSE VIBE Products comprise a cartridge assembly for

coupling to a battery portion of an electronic vaping device.

       93.    The Accused VUSE VIBE Products are an electronic vaping device.




https://vusevapor.com/vibe-complete-kit (annotated in yellow).




                                            32
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https://vusevapor.com/faqs (annotated in yellow).

       94.    The Accused VUSE VIBE Products’ vaping device includes a battery

portion (referred to as a “Power Unit”) and an e-liquid cartridge assembly, which attach

together. The battery portion and the cartridge assemblies may be purchased separately or

together (as part of the Vibe Kit). See, e.g., https://vusevapor.com/vibe-complete-kit

(Vibe Complete Kit (Power Unit + Flavor Pack) available for purchase),

https://vusevapor.com/devices/vibe/flavors (Vibe Flavor Pack Tanks).




  The Accused VUSE VIBE Products (Cartridge Assembly Coupled to Battery Portion)




                                            33
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   The Accused VUSE VIBE Products (Cartridge End (Left) and Battery Portion End
                                   (Right))




   The Accused VUSE VIBE Products (Cartridge Assembly – Exploded View) (Liquid
                                   Removed)

a cartridge portion,

      95.    The Accused VUSE VIBE Products comprise a cartridge portion.




            The Accused VUSE VIBE Products (Original Cartridge Portion)




   The Accused VUSE VIBE Products (Cartridge Assembly – Exploded View) (Liquid
                                   Removed)



                                        34
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the cartridge portion being configured to generate a dispersion that is added to air flow
through the cartridge,

       96.    The Accused VUSE VIBE Products comprise a cartridge portion

configured to generate a dispersion that is added to air flow through the cartridge.




             The Accused VUSE VIBE Products (Air Flow Through Cartridge)




https://vusevapor.com/faqs (annotated in yellow).

the cartridge portion including a heating coil wrapped around a wick,

       97.    The Accused VUSE VIBE Products comprise a cartridge portion including

a heating coil wrapped around a wick.




                                             35
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             The Accused VUSE VIBE Product (Wick and Heating Coil Shown)

the cartridge portion including an airflow tube and an outer housing

       98.      The Accused VUSE VIBE Products comprise a cartridge portion including

an airflow tube and an outer housing.

       99.      The Accused VUSE VIBE Products include a cartridge portion with an

airflow tube.




                                           36
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      The Accused VUSE VIBE Products (Cartridge Portion Airflow Tube Shown)

      100.   The Accused VUSE VIBE Products include a cartridge portion with an

outer housing.




      The Accused VUSE VIBE Products (Cartridge Portion with Outer Housing)




    The Accused VUSE VIBE Products (Cartridge Portion – Exploded View) (Liquid
                                   Removed)




                                        37
    Case 1:20-cv-00472-NCT-JLW Document 1 Filed 05/28/20 Page 38 of 136
the cartridge portion being filled with a liquid; and

          101.   The Accused VUSE VIBE Products comprise a cartridge portion filled with

liquid.




   The Accused VUSE VIBE Products (Original Cartridge Portion Containing Liquid)




https://vusevapor.com/vibe-complete-kit (annotated in yellow).

a mouthpiece connected to the cartridge portion,

          102.   The Accused VUSE VIBE Products comprise a mouthpiece connected to a

cartridge portion.




                       The Accused VUSE VIBE Products (Mouthpiece)




                                            38
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    The Accused VUSE VIBE Products (Mouthpiece Connected to Cartridge Portion)




The Accused VUSE VIBE Products (Mouthpiece (Cross-Section) Connected to Cartridge
                                  Portion)

the mouthpiece being attached to an outer surface of the cartridge portion, and

       103.   The Accused VUSE VIBE Products comprise a mouthpiece attached to an

outer surface of the cartridge portion.




The Accused VUSE VIBE Products (Mouthpiece Attached to Cartridge Portion Exterior)




                                          39
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an end region of the cartridge portion extending into the mouthpiece such that the
mouthpiece surrounds at least a portion of the end region of the cartridge portion.

       104.   The Accused VUSE VIBE Products comprise a mouthpiece surrounding at

least a portion of the end region of a cartridge portion.




    The Accused VUSE VIBE Products (Mouthpiece Surrounding Cartridge Portion)

       105.   Reynolds Vapor has also indirectly and is indirectly infringing at least

claims 1, 3-7, 9-10, 12-16, and 18 of the 824 Patent.

       106.   Reynolds Vapor induces infringement of the 824 Patent by its customers

under 35 U.S.C. § 271(b) by encouraging those customers to use the Accused VUSE

VIBE Products, which Reynolds Vapor knows infringes the 824 Patent. Reynolds Vapor

has had knowledge of the 824 Patent since at least the filing of this lawsuit and knew or

should have known that the use of the Accused VUSE VIBE Products by its customers

directly infringes. The Accused VUSE VIBE Products infringe as shown above.

Reynolds Vapor on its website and in the Accused VUSE VIBE Products’ packaging,

direct, instruct, and encourage customers of the Accused VUSE VIBE Products to use the

Accused VUSE VIBE Products.




                                              40
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                  The Accused VUSE VIBE Products (Instructions for Use)

See also https://vusevapor.com/faqs (“Vuse Vibe pre-filled tanks are translucent, so you

can see when the liquid is nearing the bottom of the tank, indicating it is time for a

replacement.”).

       107.   Reynolds Vapor also contributes to infringement of the 824 Patent under 35

U.S.C. § 271(c). Reynolds Vapor has had knowledge of the 824 Patent since at least the

filing of this lawsuit and knew or should have known that the use of the Accused VUSE

VIBE Products by its customers directly infringes. The Accused VUSE VIBE Products,




                                             41
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including but not limited to the VUSE VIBE Flavor Pack tanks, have no substantial non-

infringing uses, are not a staple article of commerce, and are specially made and adapted

for use in an infringing manner. For example, the Accused VUSE VIBE Products

infringe as shown above. See Instructions Included with Packaging for Vibe Kit (pictured

above). See also https://vusevapor.com/faqs (“Vuse Vibe pre-filled tanks are translucent,

so you can see when the liquid is nearing the bottom of the tank, indicating it is time for a

replacement.”).

       108.   Reynolds Vapor’s infringement of the 824 Patent has been and continues to

be deliberate, willful, and unlicensed, permitting Plaintiffs to seek enhanced damages

under 35 U.S.C. § 284.

       109.   Reynolds Vapor’s infringement of the 824 Patent has been and continues to

be deliberate, willful, and unlicensed, rendering this an exceptional case and permitting

Plaintiffs to seek attorney fees and costs under 35 U.S.C. § 285.

       110.   As a direct and proximate result of Reynolds Vapor’s infringement of the

824 Patent, Plaintiffs have suffered monetary damages in an amount yet to be

determined.


                                COUNT III
                  INFRINGEMENT OF U.S. PATENT NO. 10,299,517

       111.   Plaintiffs re-allege and incorporate by reference the allegations of the

preceding paragraphs of this Complaint as if fully set forth herein.




                                             42
     Case 1:20-cv-00472-NCT-JLW Document 1 Filed 05/28/20 Page 43 of 136
         112.   The Accused VUSE ALTO Products directly infringe under 35 U.S.C. §

271, literally or under the doctrine of equivalents, one or more claims of the 517 Patent

(including at least claims 1-3, 5, 7-8, and 10). Reynolds Vapor makes, uses, sells, offers

to sell, and/or imports the Accused VUSE ALTO Products in the United States, including

in this Judicial District and elsewhere. See, e.g., https://vusevapor.com/alto-complete-kit

(Alto Complete Kit (Power Unit + Flavor Pack),

https://vusevapor.com/devices/alto/flavors (Alto Flavor Pack Pods),

https://vusevapor.com/alto-power-unit-blue (Alto Power Unit - Blue) (representative

only).

         113.   Set forth below is a non-limiting description of the direct infringement of

claim 10 of the 517 Patent by Reynolds Vapor in connection with the Accused VUSE

ALTO Products. The description is based on publicly available information. Plaintiffs

reserve the right to modify the description, including, for example, on the basis of

information about the Accused VUSE ALTO Products that it obtains during discovery.

Claim 10

An e-vapor apparatus, comprising:

         114.   In the period since the 517 Patent issued on May 28, 2019, the Accused

VUSE ALTO Products comprise and have comprised an e-vapor apparatus.




                                              43
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https://vusevapor.com/alto-complete-kit (annotated in yellow).




                                           44
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https://vusevapor.com/faqs (annotated in yellow).

a pod assembly including a plurality of external surfaces,

       115.   The Accused VUSE ALTO Products include a Flavor Pack pod, which is a

pod assembly that includes a plurality of external surfaces.




  The Accused VUSE ALTO Products (Pod Shown for a Plurality of External Surfaces)

a liquid compartment,




                                            45
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      116.    The Accused VUSE ALTO Products comprise a liquid compartment as part

of the pod assembly.




             The Accused VUSE ALTO Products (Liquid Compartment Shown)

a vaporizer compartment,

      117.    The Accused VUSE ALTO Products comprise a vaporizer compartment as

part of the pod assembly.




                                        46
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         The Accused VUSE ALTO Products (Vaporizer Compartment Shown)

a vapor channel,

      118.   The Accused VUSE ALTO Products comprise a vapor channel as part of

the pod assembly.




                                        47
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               The Accused VUSE ALTO Products (Vapor Channel Shown)

and a plurality of electrical contacts,

       119.   The Accused VUSE ALTO Products comprise a plurality of electrical

contacts as part of the pod assembly.




                                          48
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              The Accused VUSE ALTO Products (Electrical Contacts Shown)

the plurality of external surfaces including a front face, a rear face opposite the front
face, a first side face between the front face and the rear face, a second side face
opposite the first side face, a downstream end face, and an upstream end face opposite
the downstream end face,

       120.    The Accused VUSE ALTO Products include a front face, a rear face

opposite the front face, a first side face between the front face and the rear face, a second

side face opposite the first side face, a downstream end face, and an upstream end face

opposite the downstream end face as part of the pod assembly.




                                             49
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 The Accused VUSE ALTO Products (Front, Rear, First Side, Second Side, Downstream
                     End, and Upstream End Faces Shown)

a portion of at least the front face or the rear face being transparent,

       121.   The Accused VUSE ALTO Products comprise front and rear faces that

include at least a portion that is transparent as part of the pod assembly.




                                             50
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              The Accused VUSE ALTO Products (Transparent Portions Shown)

the downstream end face defining an outlet,

       122.     The Accused VUSE ALTO Products comprise a downstream end face

defining an outlet as part of the pod assembly.




        The Accused VUSE ALTO Products (Downstream End and Outlet Shown)



                                            51
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the liquid compartment configured to hold a liquid formulation such that the liquid
formulation is visible through at least the font face or the rear face,

       123.   The Accused VUSE ALTO Products comprise a liquid compartment that is

configure to hold 1.8 mL of “e-Liquid”—a liquid formulation—that is visible through the

front, rear, and side faces of the pod assembly.




      The Accused VUSE ALTO Products (Visible Liquid Formulation in the Liquid
                             Compartment Shown)




https://vusevapor.com/alto-complete-kit (annotated in yellow).

the vaporizer compartment in fluidic communication with the liquid compartment,




                                             52
     Case 1:20-cv-00472-NCT-JLW Document 1 Filed 05/28/20 Page 53 of 136
      124.   The Accused VUSE ALTO Products comprise a vaporizer compartment in

fluidic communication with the liquid compartment of the pod assembly.




   The Accused VUSE ALTO Products (Vaporizer and Liquid Compartments Shown)



                                         53
    Case 1:20-cv-00472-NCT-JLW Document 1 Filed 05/28/20 Page 54 of 136
      125.   The barrier dividing the vaporizer and liquid compartment includes

passages to allow fluidic communication between the two compartments.




     The Accused VUSE ALTO Products (Fluidic Communication Passages Shown)

the vaporizer compartment being adjacent to the upstream end face,

      126.   The Accused VUSE ALTO Products comprise a vaporizer compartment

adjacent to the upstream end face of the pod assembly.




                                           54
    Case 1:20-cv-00472-NCT-JLW Document 1 Filed 05/28/20 Page 55 of 136
 The Accused VUSE ALTO Products (Vaporizer Compartment and Upstream End Face
                                   Shown)

the vaporizer compartment configured to heat the liquid formulation, the vaporizer
compartment including a heater and a wick,

       127.   The Accused VUSE ALTO Products comprise a vaporizer compartment

that includes a heater and a wick that are configured heat the liquid formulation in the

pod assembly.




                                            55
     Case 1:20-cv-00472-NCT-JLW Document 1 Filed 05/28/20 Page 56 of 136
         The Accused VUSE ALTO Products (Vaporizer Compartment Shown)




             The Accused VUSE ALTO Products (Wick and Heater Shown)




https://vusevapor.com/faqs (annotated in yellow).




                                           56
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the vapor channel extending from the vaporizer compartment, through a center of the
liquid compartment, and to the outlet,

      128.   The Accused VUSE ALTO Products comprise a vapor channel that extends

from the vaporizer compartment to the outlet at the downstream end face through a center

of the liquid compartment.




         The Accused VUSE ALTO Products (Vapor Channel Endpoints Shown)




              The Accused VUSE ALTO Products (Vapor Channel Shown)




                                          57
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the vapor channel being visible through at least the front face or the rear face,

       129.   The Accused VUSE ALTO Products comprise a vapor channel that is

visible through at least the front or the rear faces of the pod assembly.




               The Accused VUSE ALTO Products (Vapor Channel Shown)

the plurality of electrical contacts having respective planar surface at the upstream end
face and electrically connected to the heater in the vaporizer compartment,

       130.   The Accused VUSE ALTO Products comprise planar electrical contacts at

the upstream end face of the pod assembly that are electrically connected to the heater in

the vaporizer compartment.




                                             58
     Case 1:20-cv-00472-NCT-JLW Document 1 Filed 05/28/20 Page 59 of 136
        The Accused VUSE ALTO Products (Planar Electrical Contacts Shown)

      131.   The electrical contacts are electrically connected to the heater in the

vaporizer compartment.




                                            59
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        The Accused VUSE ALTO Products (Planar Electrical Contacts Shown)

the vapor channel being between the outlet and the plurality of electrical contacts; and,

       132.   The Accused VUSE ALTO Products comprise a vapor channel that is

located between the outlet at the downstream end face and the electrical contacts at the

upstream end face.




                                            60
     Case 1:20-cv-00472-NCT-JLW Document 1 Filed 05/28/20 Page 61 of 136
             The Accused VUSE ALTO Products (Vapor Channel Shown)

a device body defining a pod compartment having

      133.   The Accused VUSE ALTO Products comprise a power unit, which is a

device body defining a pod compartment.




   The Accused VUSE ALTO Products (Device Body and Pod Compartment Shown)



                                          61
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a first compartment side wall, a second compartment side wall opposite the first
compartment side wall, a third compartment side wall between the first compartment
side wall and the second compartment side wall, and a fourth compartment side wall
opposite the third compartment side wall,

       134.   The Accused VUSE ALTO Products comprise a power unit, which

comprises a first, second, third, and fourth side wall arranged as recited in this claim

limitation.




   The Accused VUSE ALTO Products (Device Body Compartment Side Walls Shown)

the pod assembly configured to engage with the first compartment side wall and the
second compartment side wall when received by the device body,




                                             62
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      135.   The Accused VUSE ALTO Products comprise a flavor pack pod—a pod

assembly—that is configured to engage with the first and second compartment side walls

of the power unit—the device body.




  The Accused VUSE ALTO Products (Cartridge Engaged with the Power Unit Shown)

the vapor channel of the pod assembly coinciding with a central longitudinal axis of
the device body,

      136.   The Accused VUSE ALTO Products comprise a vapor channel within the

pod assembly that coincides with a central longitudinal axis of the device body when the

pod assembly is inserted into the device body.




                                           63
    Case 1:20-cv-00472-NCT-JLW Document 1 Filed 05/28/20 Page 64 of 136
  The Accused VUSE ALTO Products (Cartridge Engaged with the Power Unit Shown)

the device body including a magnet,

      137.     The accused VUSE ALTO Products comprise a power unit—device

body—that includes at least one magnet.




             The Accused VUSE ALTO Products (Magnetic Connection Shown)



                                          64
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the device body including a battery configured to supply power to the heater.

      138.   The accused VUSE ALTO Products comprise a power unit—device

body—that includes a battery configured to supply power to the heater.




         The Accused VUSE ALTO Products (Battery in the Power Unit Shown)




                                          65
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https://vusevapor.com/alto-complete-kit (annotated in yellow).




                                           66
    Case 1:20-cv-00472-NCT-JLW Document 1 Filed 05/28/20 Page 67 of 136
https://vusevapor.com/faqs (annotated in yellow).

       139.   Reynolds Vapor has also indirectly infringed and is indirectly infringing at

least claims 1-3, 5, 7-8, and 10 of the 517 Patent.

       140.   Reynolds Vapor induces infringement of the 517 Patent by its customers

under 35 U.S.C. § 271(b) by encouraging those customers to use the Accused VUSE

ALTO Products, which Reynolds Vapor knows infringes the 517 Patent. Reynolds Vapor

has had knowledge of the 517 Patent since at least the filing of this lawsuit and knew or

should have known that the use of the Accused VUSE ALTO Products by its customers

directly infringes. The Accused VUSE ALTO Products infringe as shown above.

Reynolds Vapor on its website and in the Accused VUSE ALTO Products’ packaging,

direct, instruct, and encourage customers of the Accused VUSE ALTO Products to use

the Accused VUSE ALTO Products in an infringing manner.




                                             67
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                  The Accused VUSE ALTO Products (Instructions for Use)

See also https://vusevapor.com/faqs (“Vuse Alto pre-filled pods feature a clear reservoir,

so you can see when the liquid is nearing the bottom of the pod, indicating it is time for a

replacement.”).

       141.   Reynolds Vapor also contributes to infringement of the 517 Patent under 35

U.S.C. § 271(c). Reynolds Vapor has had knowledge of the 517 Patent since at least the

filing of this lawsuit and knew or should have known that the use of the Accused VUSE

ALTO Products by its customers directly infringes. The Accused VUSE ALTO Products,

including but not limited to the VUSE ALTO power units and flavor packs, have no

substantial non-infringing uses, are not a staple article of commerce, and are specially



                                             68
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made and adapted for use in an infringing manner. For example, the Accused VUSE

ALTO Products infringe as shown above. See Instructions Included with Packaging for

Alto Kit (pictured above). See also https://vusevapor.com/faqs (“Vuse Alto pre-filled

pods feature a clear reservoir, so you can see when the liquid is nearing the bottom of the

pod, indicating it is time for a replacement.”).

       142.   Reynolds Vapor’s infringement of the 517 Patent has been and continues to

be deliberate, willful, and unlicensed, permitting Plaintiffs to seek enhanced damages

under 35 U.S.C. § 284.

       143.   Reynolds Vapor’s infringement of the 517 Patent has been and continues to

be deliberate, willful, and unlicensed, rendering this an exceptional case and permitting

Plaintiffs to seek attorney fees and costs under 35 U.S.C. § 285.

       144.   As a direct and proximate result of Reynolds Vapor’s infringement of the

517 Patent, Plaintiffs have suffered monetary damages in an amount yet to be

determined.


                               COUNT IV
                 INFRINGEMENT OF U.S. PATENT NO. 10,485,269

       145.   Plaintiffs re-allege and incorporate by reference the allegations of the

preceding paragraphs of this Complaint as if fully set forth herein.

       146.   The Accused VUSE ALTO Products directly infringe under 35 U.S.C. §

271, literally or under the doctrine of equivalents, one or more claims of the 269 Patent

(including at least claim 19). Reynolds Vapor makes, uses, sells, offers to sell, and/or




                                              69
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imports the Accused VUSE ALTO Products in the United States, including in this

Judicial District and elsewhere. See, e.g., https://vusevapor.com/alto-complete-kit (Alto

Complete Kit (Power Unit + Flavor Pack)), https://vusevapor.com/devices/alto/flavors

(Alto Flavor Pack Pods), https://vusevapor.com/alto-power-unit-blue (Alto Power Unit -

Blue) (representative only).

       147.   Set forth below is a non-limiting description of the direct infringement of

claim 19 of the 269 Patent by Reynolds Vapor in connection with the Accused VUSE

ALTO Products. The description is based on publicly available information. Plaintiffs

reserve the right to modify the description, including, for example, on the basis of

information about the Accused VUSE ALTO Products that it obtains during discovery.

Claim 19

A pod assembly for an e-vapor apparatus, comprising:

       148.   In the period since the 269 Patent issued on November 26, 2019, the

Accused VUSE ALTO Products comprise and have comprised a pod assembly for an e-

vapor apparatus.




                                            70
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https://vusevapor.com/alto-complete-kit (annotated in yellow).




                                           71
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https://vusevapor.com/faqs (annotated in yellow).

      149.   The Accused VUSE ALTO Products include a Flavor Pack pod, which is a

pod assembly.




                                           72
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                   The Accused VUSE ALTO Products (Pod Shown)

a vapor precursor compartment configured to hold a vapor precursor,

      150.   The Accused VUSE ALTO Products comprise a vapor-precursor

compartment configured to hold a vapor precursor as part of the pod assembly.




      The Accused VUSE ALTO Products (Vapor Precursor and Vapor Precursor
                            Compartment Shown)



                                          73
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the vapor precursor compartment including a front face and a rear face opposite the
front face, the front face and the rear face including transparent portions;

       151.   The Accused VUSE ALTO Products comprise a vapor precursor

compartment that includes a front face and a rear face opposite that front face, where both

the front and the rear faces are transparent.




           The Accused VUSE ALTO Products (Front and Rear Faces Shown)

a device compartment upstream from the vapor precursor compartment,

       152.   The Accused VUSE ALTO Products comprise a device compartment

upstream from the vapor precursor compartment as part of the pod assembly.




                                                74
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The Accused VUSE ALTO Products (Vapor Precursor and Device Compartments Shown)

the device compartment configured to heat the vapor precursor to produce a vapor;
and

       153.   The Accused VUSE ALTO Products comprise a device compartment

configured to heat the vapor precursor to produce a vapor as part of the pod assembly.

       154.   The Accused VUSE ALTO Products comprise a device compartment that

includes a heater and a wick that are configured heat the liquid formulation in the pod

assembly.




                                            75
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             The Accused VUSE ALTO Products (Device Compartment Shown)




https://vusevapor.com/faqs (annotated in yellow).

a vapor channel extending through the vapor precursor compartment, the vapor
channel being visible through the transparent portions of the vapor precursor
compartment.

      155.    The Accused VUSE ALTO Products comprise a vapor channel extending

through the vapor precursor compartment that is visible through the front and the rear

faces of the pod assembly.




                                           76
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               The Accused VUSE ALTO Products (Vapor Channel Shown)

       156.   Reynolds Vapor has also indirectly infringed and is indirectly infringing at

least claim 19 of the 269 Patent.

       157.   Reynolds Vapor induces infringement of the 269 Patent by its customers

under 35 U.S.C. § 271(b) by encouraging those customers to use the Accused VUSE

ALTO Products, which Reynolds Vapor knows infringes the 269 Patent. Reynolds Vapor

has had knowledge of the 269 Patent since at least the filing of this lawsuit and knew or

should have known that the use of the Accused VUSE ALTO Products by its customers

directly infringes. The Accused VUSE ALTO Products infringe as shown above.

Reynolds Vapor on its website and in the Accused VUSE ALTO Products’ packaging,

direct, instruct, and encourage customers of the Accused VUSE ALTO Products to use

the Accused VUSE ALTO Products in an infringing manner.




                                            77
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                  The Accused VUSE ALTO Products (Instructions for Use)

See also https://vusevapor.com/faqs (“Vuse Alto pre-filled pods feature a clear reservoir,

so you can see when the liquid is nearing the bottom of the pod, indicating it is time for a

replacement.”).

       158.   Reynolds Vapor also contributes to infringement of the 269 Patent under 35

U.S.C. § 271(c). Reynolds Vapor has had knowledge of the 269 Patent since at least the

filing of this lawsuit and knew or should have known that the use of the Accused VUSE

ALTO Products by its customers directly infringes. The Accused VUSE ALTO Products,

including but not limited to the VUSE ALTO power units and flavor packs, have no

substantial non-infringing uses, are not a staple article of commerce, and are specially



                                             78
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made and adapted for use in an infringing manner. For example, the Accused VUSE

ALTO Products infringe as shown above. See Instructions Included with Packaging for

Alto Kit (pictured above). See also https://vusevapor.com/faqs (“Vuse Alto pre-filled

pods feature a clear reservoir, so you can see when the liquid is nearing the bottom of the

pod, indicating it is time for a replacement.”).

       159.   Reynolds Vapor’s infringement of the 269 Patent has been and continues to

be deliberate, willful, and unlicensed, permitting Plaintiffs to seek enhanced damages

under 35 U.S.C. § 284.

       160.   Reynolds Vapor’s infringement of the 269 Patent has been and continues to

be deliberate, willful, and unlicensed, rendering this an exceptional case and permitting

Plaintiffs to seek attorney fees and costs under 35 U.S.C. § 285.

       161.   As a direct and proximate result of Reynolds Vapor’s infringement of the

269 Patent, Plaintiffs have suffered monetary damages in an amount yet to be

determined.

                               COUNT V
                 INFRINGEMENT OF U.S. PATENT NO. 10,492,541

       162.   Plaintiffs re-allege and incorporate by reference the allegations of the

preceding paragraphs of this Complaint as if fully set forth herein.

       163.   The Accused VUSE ALTO Products directly infringe under 35 U.S.C. §

271, literally or under the doctrine of equivalents, one or more claims of the 541 Patent

(including at least claim 24). Reynolds Vapor makes, uses, sells, offers to sell, and/or

imports the Accused VUSE ALTO Products in the United States, including in this



                                              79
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Judicial District and elsewhere. See, e.g., https://vusevapor.com/alto-complete-kit (Alto

Complete Kit (Power Unit + Flavor Pack), https://vusevapor.com/devices/alto/flavors

(Alto Flavor Pack Pods), https://vusevapor.com/alto-power-unit-blue (Alto Power Unit -

Blue) (representative only).

       164.   Set forth below is a non-limiting description of the direct infringement of

claim 24 of the 541 Patent by Defendant in connection with the Accused VUSE ALTO

Products. The description is based on publicly available information. Plaintiffs reserve

the right to modify the description, including, for example, on the basis of information

about the Accused VUSE ALTO Products that it obtains during discovery.

Claim 24

A pod assembly for an e-vapor apparatus, comprising:

       165.   In the period since the 541 Patent issued on December 3, 2019, the Accused

VUSE ALTO Products comprise and have comprised a pod assembly for an e-vapor

apparatus.




                                            80
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https://vusevapor.com/alto-complete-kit (annotated in yellow).




                                           81
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https://vusevapor.com/faqs (annotated in yellow).

      166.   The Accused VUSE ALTO Products include a Flavor Pack pod, which is a

pod assembly.




                                           82
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                     The Accused VUSE ALTO Products (Pod Shown)

a plurality of external surfaces including a front face, a rear face opposite the front
face, a first side face between the front face and the rear face, a second side face
opposite the first side face, a downstream end face, and an upstream end face opposite
the downstream end face;

       167.   The Accused VUSE ALTO Products include pod assembly with a front

face, a rear face opposite the front face, a first side face between the front face and the

rear face, a second side face opposite the first side face, a downstream end face, and an

upstream end face opposite the downstream end face.




                                              83
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 The Accused VUSE ALTO Products (Front, Rear, First Side, Second Side, Downstream
                     End, and Upstream End Faces Shown)

a pre-vapor formulation compartment configured to hold a pre-vapor formulation such
that the pre-vapor formulation is visible through at least the front face;

      168.   The Accused VUSE ALTO Products comprise a pre-vapor formulation

compartment configured to hold a pre-vapor formulation such that the pre-vapor

formulation is visible through the faces of the pod assembly.




                                            84
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      The Accused VUSE ALTO Products (Pre-vapor Formulation Compartment)

a device compartment upstream from the pre-vapor formulation compartment,

      169.   The Accused VUSE ALTO Products comprise a device compartment

upstream from the pre-vapor formulation compartment as part of the pod assembly.




                                         85
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The Accused VUSE ALTO Products (Pre-vapor Formulation and Device Compartments
                                  Shown)

the device compartment configured to heat the pre-vapor formulation to produce a
vapor; and

       170.   The Accused VUSE ALTO Products comprise a device compartment

configured to heat the pre-vapor formulation to produce a vapor as part of the pod

assembly.

       171.   The Accused VUSE ALTO Products comprise a device compartment that

includes a heater and a wick that are configured heat the liquid formulation in the pod

assembly.




                                            86
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             The Accused VUSE ALTO Products (Device Compartment Shown)




https://vusevapor.com/faqs (annotated in yellow).

a vapor channel extending through the pre-vapor formulation compartment, the vapor
channel being visible through at least the front face.

      172.    The Accused VUSE ALTO Products comprise a vapor channel extending

through the pre-vapor formulation compartment that is visible through the front face of

the pod assembly.




                                           87
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               The Accused VUSE ALTO Products (Vapor Channel Shown)

       173.   Reynolds Vapor has also indirectly infringed and is indirectly infringing at

least claim 24 of the 541 Patent.

       174.   Reynolds Vapor induces infringement of the 541 Patent by its customers

under 35 U.S.C. § 271(b) by encouraging those customers to use the Accused VUSE

ALTO Products, which Reynolds Vapor knows infringes the 541 Patent. Reynolds Vapor

has had knowledge of the 541 Patent since at least the filing of this lawsuit and knew or

should have known that the use of the Accused VUSE ALTO Products by its customers

directly infringes. The Accused VUSE ALTO Products infringe as shown above.

Reynolds Vapor on its website and in the Accused VUSE ALTO Products’ packaging,

direct, instruct, and encourage customers of the Accused VUSE ALTO Products to use

the Accused VUSE ALTO Products in an infringing manner.




                                            88
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                  The Accused VUSE ALTO Products (Instructions for Use)

See also https://vusevapor.com/faqs (“Vuse Alto pre-filled pods feature a clear reservoir,

so you can see when the liquid is nearing the bottom of the pod, indicating it is time for a

replacement.”).

       175.   Reynolds Vapor also contributes to infringement of the 541 Patent under 35

U.S.C. § 271(c). Reynolds Vapor has had knowledge of the 541 Patent since at least the

filing of this lawsuit and knew or should have known that the use of the Accused VUSE

ALTO Products by its customers directly infringes. The Accused VUSE ALTO Products,

including but not limited to the VUSE ALTO power units and flavor packs, have no

substantial non-infringing uses, are not a staple article of commerce, and are specially



                                             89
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made and adapted for use in an infringing manner. For example, the Accused VUSE

ALTO Products infringe as shown above. See Instructions Included with Packaging for

Alto Kit (pictured above). See also https://vusevapor.com/faqs (“Vuse Alto pre-filled

pods feature a clear reservoir, so you can see when the liquid is nearing the bottom of the

pod, indicating it is time for a replacement.”).

       176.   Reynolds Vapor’s infringement of the 541 Patent has been and continues to

be deliberate, willful, and unlicensed, permitting Plaintiffs to seek enhanced damages

under 35 U.S.C. § 284.

       177.   Reynolds Vapor’s infringement of the 541 Patent has been and continues to

be deliberate, willful, and unlicensed, rendering this an exceptional case and permitting

Plaintiffs to seek attorney fees and costs under 35 U.S.C. § 285.

       178.   As a direct and proximate result of Reynolds Vapor’s infringement of the

541 Patent, Plaintiffs have suffered monetary damages in an amount yet to be

determined.


                               COUNT VI
                 INFRINGEMENT OF U.S. PATENT NO. 10,588,357

       179.   Plaintiffs re-allege and incorporate by reference the allegations of the

preceding paragraphs of this Complaint as if fully set forth herein.

       180.   The Accused VUSE ALTO Products directly infringe under 35 U.S.C. §

271, literally or under the doctrine of equivalents, one or more claims of the 357 Patent

(including at least claims 1-3, 5, 7-8, and 10-15). Reynolds Vapor makes, uses, sells,




                                              90
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offers to sell, and/or imports the Accused VUSE ALTO Products in the United States,

including in this Judicial District and elsewhere. See, e.g., https://vusevapor.com/alto-

complete-kit (Alto Complete Kit (Power Unit + Flavor Pack),

https://vusevapor.com/devices/alto/flavors (Alto Flavor Pack Pods),

https://vusevapor.com/alto-power-unit-blue (Alto Power Unit - Blue) (representative

only).

         181.   Set forth below is a non-limiting description of the direct infringement of

claim 10 of the 357 Patent by Reynolds Vapor in connection with the Accused VUSE

ALTO Products. The description is based on publicly available information. Plaintiffs

reserve the right to modify the description, including, for example, on the basis of

information about the Accused VUSE ALTO Products that it obtains during discovery.

Claim 10

An e-vapor apparatus comprising:

         182.   In the period since the 357 Patent issued on March 17, 2020, the Accused

VUSE ALTO Products comprise and have comprised an e-vapor apparatus.




                                              91
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https://vusevapor.com/alto-complete-kit (annotated in yellow).




                                           92
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https://vusevapor.com/faqs (annotated in yellow).

a pod assembly including a plurality of external surfaces,

       183.   The Accused VUSE ALTO Products include a Flavor Pack pod, which is a

pod assembly that includes a plurality of external surfaces.




                                            93
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  The Accused VUSE ALTO Products (Pod Shown for a Plurality of External Surfaces)


a liquid compartment;

      184.    The Accused VUSE ALTO Products comprise a liquid compartment as part

of the pod assembly.




             The Accused VUSE ALTO Products (Liquid Compartment Shown)

a vaporizer compartment;



                                        94
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      185.   The Accused VUSE ALTO Products comprise a vaporizer compartment as

part of the pod assembly.




          The Accused VUSE ALTO Products (Vaporizer Compartment Shown)

and a vapor channel,

      186.   The Accused VUSE ALTO Products comprise a vapor channel as part of

the pod assembly.




                                        95
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               The Accused VUSE ALTO Products (Vapor Channel Shown)

the plurality of external surfaces including a front face, a rear face, a first side face, a
second side face, a downstream end face, and an upstream end face,

       187.   The Accused VUSE ALTO Products include a front face, a rear face, a first

side face, a second side face, a downstream end face, and an upstream end face as part of

the pod assembly.




                                             96
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 The Accused VUSE ALTO Products (Front, Rear, First Side, Second Side, Downstream
                     End, and Upstream End Faces Shown)

a portion of at least the front face or the rear face being transparent,

       188.   The Accused VUSE ALTO Products comprise front and rear faces that

include at least a portion that is transparent as part of the pod assembly.




                                             97
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              The Accused VUSE ALTO Products (Transparent Portions Shown)

the liquid compartment configured to hold a liquid formulation such that the liquid
formulation is visible through at least the front face or the rear face,

       189.     The Accused VUSE ALTO Products comprise a liquid compartment that is

configured to hold 1.8 mL of “e-Liquid”—a liquid formulation—that is visible through

the front, rear, and side faces of the pod assembly.




                                             98
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     The Accused VUSE ALTO Products (Visible Liquid Formulation in the Liquid
                            Compartment Shown)




https://vusevapor.com/alto-complete-kit (annotated in yellow).

the vapor channel surrounded by the liquid compartment, the vapor channel being
visible through at least the front face or the rear face; and

      190.   The Accused VUSE ALTO Products comprise a vapor channel that is

surrounded by the liquid compartment and is visible through the front and rear faces as

part of the pod assembly.




                                           99
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             The Accused VUSE ALTO Products (Vapor Channel Shown)

a device body including a magnet and defining a pod compartment

      191.   The Accused VUSE ALTO Products comprise a power unit, which is a

device body defining a pod compartment and includes multiple magnets.




                  The Accused VUSE ALTO Products (Device Body)




                                        100
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    The Accused VUSE ALTO Products (Device Body and Pod Compartment Shown)




             The Accused VUSE ALTO Products (Magnetic Connection Shown)

configured to receive the pod assembly so as to produce an audible click.

      192.     The Accused VUSE ALTO Products comprise a power unit that is

configured to receive the pod assembly so as to produce an audible click. When the




                                          101
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upstream end of the pod assembly meets the magnetic connection of the power unit, an

audible click is produced.




    The Accused VUSE ALTO Products (The Power Unit Receiving the Pod Assembly
                                    Shown)

       193.   Reynolds Vapor has also indirectly infringed and is indirectly infringing at

least claims 1-3, 5, 7-8, and 10-15 of the 357 Patent.

       194.   Reynolds Vapor induces infringement of the 357 Patent by its customers

under 35 U.S.C. § 271(b) by encouraging those customers to use the Accused VUSE

ALTO Products, which Reynolds Vapor knows infringes the 357 Patent. Reynolds Vapor

has had knowledge of the 357 Patent since at least the filing of this lawsuit and knew or

should have known that the use of the Accused VUSE ALTO Products by its customers

directly infringes. The Accused VUSE ALTO Products infringe as shown above.




                                            102
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Reynolds Vapor on its website and in the Accused VUSE ALTO Products’ packaging,

direct, instruct, and encourage customers of the Accused VUSE ALTO Products to use

the Accused VUSE ALTO Products in an infringing manner.




                  The Accused VUSE ALTO Products (Instructions for Use)

See also https://vusevapor.com/faqs (“Vuse Alto pre-filled pods feature a clear reservoir,

so you can see when the liquid is nearing the bottom of the pod, indicating it is time for a

replacement.”).

       195.   Reynolds Vapor also contributes to infringement of the 357 Patent under 35

U.S.C. § 271(c). Reynolds Vapor has had knowledge of the 357 Patent since at least the

filing of this lawsuit and knew or should have known that the use of the Accused VUSE



                                            103
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ALTO Products by its customers directly infringes. The Accused VUSE ALTO Products,

including but not limited to the VUSE ALTO power units and flavor packs, have no

substantial non-infringing uses, are not a staple article of commerce, and are specially

made and adapted for use in an infringing manner. For example, the Accused VUSE

ALTO Products infringe as shown above. See Instructions Included with Packaging for

Alto Kit (pictured above). See also https://vusevapor.com/faqs (“Vuse Alto pre-filled

pods feature a clear reservoir, so you can see when the liquid is nearing the bottom of the

pod, indicating it is time for a replacement.”).

       196.   Reynolds Vapor’s infringement of the 357 Patent has been and continues to

be deliberate, willful, and unlicensed, permitting Plaintiffs to seek enhanced damages

under 35 U.S.C. § 284.

       197.   Reynolds Vapor’s infringement of the 357 Patent has been and continues to

be deliberate, willful, and unlicensed, rendering this an exceptional case and permitting

Plaintiffs to seek attorney fees and costs under 35 U.S.C. § 285.

       198.   As a direct and proximate result of Reynolds Vapor’s infringement of the

357 Patent, Plaintiffs have suffered monetary damages in an amount yet to be

determined.


                               COUNT VII
                  INFRINGEMENT OF U.S. PATENT NO. 7,798,319

       199.   Plaintiffs re-allege and incorporate by reference the allegations of the

preceding paragraphs of this Complaint as if fully set forth herein.




                                             104
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       200.   The Accused VELO Products directly infringe under 35 U.S.C. § 271,

literally or under the doctrine of equivalents, one or more claims of the 319 Patent

(including at least claims 17-20, 22-23, and 25-26). Reynolds Vapor makes, uses, sells,

offers to sell, and/or imports the Accused VELO Products in the United States, including

in this Judicial District and elsewhere. See, e.g., https://vusevapor.com/velo?intcmp=velo.

       201.   Set forth below is a non-limiting description of the direct infringement of

claim 17 of the 319 Patent by Reynolds Vapor in connection with the Accused VELO

Products. The description is based on publicly available information. Plaintiffs reserve

the right to modify the description, including, for example, on the basis of information

about the Accused VELO Products that it obtains during discovery.

Claim 17

A tobacco product package device, comprising:

       202.   In the period since the 319 Patent issued on September 21, 2010, the

Accused VELO Products comprise a tobacco product package device.




                   The Accused VELO Products (Mint Flavor Variety)

a container defining an interior space and having a bottom wall,



                                            105
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      203.   The Accused VELO Products comprise a container defining an interior

space and having a bottom wall.




     The Accused VELO Products (Container with Interior Space and Bottom Wall)

a generally cylindrical side wall that extends from the bottom wall toward a connection
rim;

      204.   The Accused VELO Products comprise a container with a generally

cylindrical side wall that extends from the bottom of wall toward a connection rim.




    The Accused VELO Products (Container with a Generally Cylindrical Side Wall
             Extending from the Bottom Wall Toward a Connection Rim)

a tobacco product for oral consumption arranged in the interior space of the container;




                                           106
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       205.   The Accused VELO Products comprise a tobacco product for oral

consumption arranged in the interior space of the container. Reynolds Vapor tells

consumers that the pouches of the Accused VELO Products are tobacco products because

they contain nicotine extracted from the tobacco plant, under FDA regulations. See

https://www.velo.com/footer-links/faq.html.




  The Accused VELO Products (Oral Tobacco Product Arranged in the Interior Space)

a lid that encloses the tobacco product in the interior space of the container,

       206.   The Accused VELO Products comprise a lid that encloses the tobacco

product in the interior space of the container.




                                             107
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     The Accused VELO Products (Lid that Encloses Tobacco Product in Container)

the lid including a lid wall that is integral with a skirt, wherein the skirt is releasably
engaged with the connection rim; and

       207.   The Accused VELO Products comprise a lid that includes a lid wall that is

integral with a skirt, wherein the skirt is releasably engaged with the connection rim.




                                             108
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The Accused VELO Products (Lid Having a Lid Wall and Integral Skirt that is Releasably
                       Engaged with the Connection Rim)

a resilient gasket in engagement with an interior surface of the lid wall to provide a
moisture barrier and a non-hermetic seal between the lid and the container when the
lid is secured to the container, the resilient gasket abutting with the connection rim of
the container when the lid is secured to the container, wherein the moisture barrier
inhibits the migration of moisture to and from the container when the lid is secured to
the container, and wherein the non-hermetic seal permits gas exchange between
ambient air and the interior space when the lid is secured to the container.

       208.   The Accused VELO Products comprise a resilient gasket that is in

engagement with an interior surface of the lid wall and that abuts the connection rim of

the container when the lid is secured to the container.




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 The Accused VELO Products (Resilient Gasket Engaged to Lid Wall and that Abuts the
              Connection Rim when the Lid is Secured to the Container)

       209.   The resilient gasket of the Accused VELO Products provides a moisture

barrier and a non-hermetic seal between the lid and the container, wherein the moisture

barrier inhibits the migration of moisture to and from the container when the lid is

secured to the container, and wherein the non-hermetic seal permits gas exchange

between ambient air and the interior space when the lid is secured to the container.




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The Accused VELO Products (Resilient Gasket Provides a Moisture Barrier and a Non-
Hermetic Seal Between the Lid and the Container to Inhibit Moisture Migration and to
                              Permit Gas Exchange)

       210.   Reynolds Vapor has also indirectly infringed and is indirectly infringing at

least claims 17-20, 22-23, and 25-26 of the 319 Patent.

       211.   Reynolds Vapor induces infringement of the 319 Patent by its customers

under 35 U.S.C. § 271(b) by encouraging those customers to use the Accused VELO

Products, which Reynolds Vapor knows infringes the 319 Patent. Reynolds Vapor has

had knowledge of the 319 Patent since at least the filing of this lawsuit and knew or

should have known that the use of the Accused VELO Products by its customers directly

infringes. The Accused VELO Products infringe as shown above. Reynolds Vapor on its

website and in the Accused VELO Products’ packaging, direct, instruct, and encourage

customers of the Accused VELO Products to use the Accused VELO Products in an

infringing manner. See https://www.velo.com/footer-links/faq.html (“How Do I Use

VELO Nicotine Pouches?”).



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        The Accused VELO Products (Instructions For Use Printed on Lid Wall)

       212.   Reynolds Vapor also contributes to infringement of the 319 Patent under 35

U.S.C. § 271(c). Reynolds Vapor has had knowledge of the 319 Patent since at least the

filing of this lawsuit and knew or should have known that the use of the Accused VELO

Products by its customers directly infringes. The Accused VELO Products, including but

not limited to the VELO container and lid, has no substantial non-infringing uses, is not a

staple article of commerce, and is specially made and adapted for use in an infringing

manner. For example, the Accused VELO Products infringe as shown above. See

container labeling (“Sealed For Freshness”).




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       213.   Reynolds Vapor’s infringement of the 319 Patent has been and continues to

be deliberate, willful, and unlicensed, permitting Plaintiffs to seek enhanced damages

under 35 U.S.C. § 284.

       214.   Reynolds Vapor’s infringement of the 319 Patent has been and continues to

be deliberate, willful, and unlicensed, rendering this an exceptional case and permitting

Plaintiffs to seek attorney fees and costs under 35 U.S.C. § 285.

       215.   As a direct and proximate result of Reynolds Vapor’s infringement of the

319 Patent, Plaintiffs have suffered monetary damages in an amount yet to be

determined.


                              COUNT VIII
                 INFRINGEMENT OF U.S. PATENT NO. 8,458,996

       216.   Plaintiffs re-allege and incorporate by reference the allegations of the

preceding paragraphs of this Complaint as if fully set forth herein.

       217.   Reynolds Vapor performs a method of making the Accused VELO

Products that directly infringes under 35 U.S.C. § 271, literally or under the doctrine of

equivalents, one or more claims of the 996 Patent (including at least claims 1, 4, and 5).

Reynolds Vapor makes the Accused VELO Products in the United States, including in

this Judicial District and elsewhere. See, e.g., https://www.velo.com/footer-links/faq.html

(“Velo Nicotine Pouches are manufactured in Winston-Salem, N.C.”).

       218.   Set forth below is a non-limiting description of the direct infringement of

claim 1 of the 996 Patent by Reynolds Vapor in connection with the Accused VELO




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Products. The description is based on publicly available information. Plaintiffs reserve

the right to modify the description, including, for example, on the basis of information

about the Accused VELO Products that it obtains during discovery.

Claim 1

A method of packaging a tobacco product, comprising forming a tobacco product
container

       219.   In the period since the 996 Patent issued on June 11, 2013, the Accused

VELO Products are made by a method of packaging a tobacco product, comprising

forming a tobacco product container. The Accused VELO Products comprise a tobacco

product for oral consumption arranged in the interior space of the container. Reynolds

Vapor tells consumers that the pouches of the Accused VELO Products are tobacco

products because they contain nicotine extracted from the tobacco plant, under FDA

regulations. See https://www.velo.com/footer-links/faq.html.




                   The Accused VELO Products (Mint Flavor Variety)




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                     The Accused VELO Products (Tobacco Product)

having an interior space that is at least partially defined by a bottom wall, a side wall
including an outwardly curved exterior surface portion, and a top opening;

       220.   The Accused VELO Products are made by a method comprising forming a

tobacco product container having an interior space at least partially defined by a bottom

wall, a side wall including an outwardly curved exterior surface portion, and a top

opening.




                                            115
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 The Accused VELO Products (Container Having an Interior Space at Least Partially
Defined by a Bottom Wall, a Side Wall Including an Outwardly Curved Exterior Surface
                             Portion, and a Top Opening)

forming a lid that includes lid wall integral with a skirt, the skirt providing a releasable
engagement with a connection rim of the tobacco product container when the lid is
releasably engaged with the tobacco product container;

       221.   The Accused VELO Products are made by a method comprising forming a

lid wall integral with a skirt, the skirt providing a releasable engagement with a

connection rim of the tobacco product container when the lid is releasably engaged with

the tobacco product container.




                                            116
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The Accused VELO Products (Lid Having a Lid Wall and Integral Skirt that is Releasably
                Engaged with the Connection Rim of the Container)

affixing a resilient gasket to an interior surface of the lid wall proximate to the skirt;




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       222.   The Accused VELO Products are made by a method comprising affixing a

resilient gasket to an interior surface of the lid wall proximate to the skirt.




  The Accused VELO Products (Resilient Gasket Affixed to Interior Surface of Lid Wall
                              Proximate to the Skirt)

depositing a predetermined amount of an orally consumable tobacco product in the
interior space of the tobacco product container; and

       223.   The Accused VELO Products are made by a method comprising depositing

a predetermined amount of an orally consumable tobacco product in the interior space of

the tobacco product container. The Accused VELO Products comprise a tobacco product

for oral consumption arranged in the interior space of the container. Reynolds Vapor tells

consumers that the pouches of the Accused VELO products are tobacco products because

they contain nicotine extracted from the tobacco plant, under FDA regulations. See

https://www.velo.com/footer-links/faq.html.




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   The Accused VELO Products (Predetermined Amount of Oral Tobacco Product in
                         Interior Space of Container)

securing the lid to the connection rim of the tobacco product container so that the
resilient gasket abuts the connection rim between the lid and the container to form a
moisture barrier and a non-hermetic seal for the orally consumable tobacco product
enclosed in the interior space, wherein the lid releasably engages to the connection rim
of the tobacco product container so that the resilient gasket provides the non-hermetic
seal between the lid and the container, and wherein the non-hermetic seal permits
venting of byproduct gases from the container when the lid is releasably engaged with
the container.

       224.   The Accused VELO Products are made by a method comprising securing

the lid to the connection rim of the tobacco product container so that the resilient gasket

abuts the connection rim between the lid and the container and so that the lid is releasably

engaged to the connection rim of the tobacco product container.




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The Accused VELO Products (Resilient Gasket Abuts the Connection Rim Between the
       Lid and the Container When the Lid is Secured to the Connection Rim)



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       225.   When the resilient gasket of the Accused VELO Products abuts the

connection rim, the resilient gasket forms a moisture barrier and a non-hermetic seal for

the orally consumable tobacco product enclosed in the interior space, provides the non-

hermetic seal between the lid and the container, and permits venting of byproduct gases

from the container.




 The Accused VELO Products (Resilient Gasket Provides a Moisture Barrier and a Non-
               Hermetic Seal and Permits Venting of Byproduct Gases)

       226.   Reynolds Vapor has also indirectly infringed and is indirectly infringing at

least claims 1, 4, and 5 of the 996 Patent.

       227.   Reynolds Vapor also induces infringement of the 996 Patent under 35

U.S.C. § 271(b). Reynolds Vapor has had knowledge of the 996 Patent since at least the

filing of this lawsuit and knew or should have known that the method of making the

Accused VELO Products by others directly infringes. Reynolds Vapor actively

encourages others to perform the steps of making the Accused VELO Products that



                                              121
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infringe the 996 Patent and knows that the performance of these steps infringes the 996

Patent. For example, the Accused VELO Products infringe as shown above.

       228.   Reynolds Vapor’s infringement of the 996 Patent has been and continues to

be deliberate, willful, and unlicensed, permitting Plaintiffs to seek enhanced damages

under 35 U.S.C. § 284.

       229.   Reynolds Vapor’s infringement of the 996 Patent has been and continues to

be deliberate, willful, and unlicensed, rendering this an exceptional case and permitting

Plaintiffs to seek attorney fees and costs under 35 U.S.C. § 285.

       230.   As a direct and proximate result of Reynolds Vapor’s infringement of the

996 Patent, Plaintiffs have suffered monetary damages in an amount yet to be

determined.


                               COUNT IX
                  INFRINGEMENT OF U.S. PATENT NO. 8,556,070

       231.   Plaintiffs re-allege and incorporate by reference the allegations of the

preceding paragraphs of this Complaint as if fully set forth herein.

       232.   The Accused VELO Products directly infringe under 35 U.S.C. § 271,

literally or under the doctrine of equivalents, one or more claims of the 070 Patent

(including at least claims 1-6, 8, 10-22, and 25-28). Reynolds Vapor makes, uses, sells,

offers to sell, and/or imports the Accused VELO Products in the United States, including

in this Judicial District and elsewhere. See, e.g.,

https://vusevapor.com/velo?intcmp=velo-cite.




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       233.   Set forth below is a non-limiting description of the direct infringement of

claim 1 of the 070 Patent by Reynolds Vapor in connection with the Accused VELO

Products. The description is based on publicly available information. Plaintiffs reserve

the right to modify the description, including, for example, on the basis of information

about the Accused VELO Products that it obtains during discovery.

Claim 1

A tobacco product package device, comprising:

       234.   In the period since the 070 Patent issued on October 15, 2013, the Accused

VELO Products comprise a tobacco product package device. The Accused VELO

Products comprise a tobacco product for oral consumption arranged in the interior space

of the container. Reynolds Vapor tells consumers that the pouches of the Accused VELO

Products are tobacco products because they contain nicotine extracted from the tobacco

plant, under FDA regulations. See https://www.velo.com/footer-links/faq.html.




                   The Accused VELO Products (Mint Flavor Variety)

a container having a bottom wall,



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       235.   The Accused VELO Products comprise a container having a bottom wall.




               The Accused VELO Products (Container with Bottom Wall)

a side wall that extends in an axial direction from the bottom wall toward a connection
rim, and

       236.   The Accused VELO Products comprise a container having a side wall that

extends in an axial direction form the bottom wall toward a connection rim.




  The Accused VELO Products (Container with a Side Wall Extending Axially from the
                     Bottom Wall Toward a Connection Rim)

a top opening that is at least partially defined by the connection rim,




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       237.   The Accused VELO Products comprise a container having a top opening

that is at least partially defined by the connection rim.




The Accused VELO Products (Container With a Top Opening at Least Partially Defined
                            by the Connection Rim)

the container defining an interior space that is in communication with the top opening,

       238.   The Accused VELO Products comprise a container defining an interior

space that is in communication with the top opening.




The Accused VELO Products (Container with Interior Space in Communication with Top
                                   Opening)

at least a portion of the side wall being outwardly convexly curved away from the
interior space;



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      239.   The Accused VELO Products comprise a container having a side wall, at

least a portion of which is outwardly convexly curved away from the interior space.




The Accused VELO Products (Container with at Least a Portion of a Side Wall Convexly
                     Curving Away from the Interior Space)

a tobacco product arranged in the interior space of the container;

      240.   The Accused VELO Products comprise a tobacco product for oral

consumption arranged in the interior space of the container. Reynolds Vapor tells

consumers that the pouches of the Accused VELO products are tobacco products because

they contain nicotine extracted from the tobacco plant, under FDA regulations. See

https://www.velo.com/footer-links/faq.html.




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    The Accused VELO Products (Tobacco Product Arranged in the Interior Space)

a metallic lid that releasably engages the container to enclose the tobacco product in
the interior space,

       241.   The Accused VELO Products comprise a metallic lid that releasably

engages the container to enclose the tobacco product in the interior space.




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  The Accused VELO Products (Metallic Lid that Releasably Engages the Container to
                         Enclose the Tobacco Product)

the metallic lid including a lid wall that is integral with a skirt, wherein the skirt
provides a releasable engagement with the connection rim; and

       242.   The Accused VELO Products comprise a metallic lid that includes a lid

wall that is integral with a skirt, wherein the skirt provides a releasable engagement with

the connection rim.




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 The Accused VELO Products (Metallic Lid Having a Lid Wall and Integral Skirt that is
                  Releasably Engaged with the Connection Rim)

a resilient gasket affixed to an interior surface of the lid wall proximate to the skirt to
provide a moisture barrier and a non-hermetic seal between the metallic lid and the
container when the metallic lid is releasably engaged with the container, wherein the
resilient gasket comprises a strip of polymer material affixed directly onto a perimeter
channel of the lid wall, and wherein the non-hermetic seal permits venting of
byproduct gases from the container when the metallic lid is releasably engaged with the
container.

       243.   The Accused VELO Products comprise a resilient gasket affixed to an

interior surface of the lid wall proximate to the skirt, wherein the resilient gasket




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comprises a strip of polymer material affixed directly onto a perimeter channel of the lid

wall.




 The Accused VELO Products (Resilient Gasket Comprised of Polymer Material that is
Directly Affixed to a Perimeter Channel of a Lid Wall and that is Proximate to the Skirt)

        244.   The resilient gasket of the Accused VELO Products provides a moisture

barrier and a non-hermetic seal between the metallic lid and the container when the

metallic lid is releasably engaged with the container, wherein the non-hermetic seal

permits venting of byproduct gases from the container when the metallic lid is releasably

engaged with the container.




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The Accused VELO Products (Resilient Gasket Provides a Moisture Barrier and a Non-
Hermetic Seal Between the Metallic Lid to Permit Venting of Byproduct Gases when the
               Metallic Lid is Releasably Engaged with the Container)

       245.   Reynolds Vapor has also indirectly infringed and is indirectly infringing at

least claims 1-6, 8, 10-22, and 25-28 of the 070 Patent.

       246.   Reynolds Vapor induces infringement of the 070 Patent by its customers

under 35 U.S.C. § 271(b) by encouraging those customers to use the Accused VELO

Products, which Reynolds Vapor knows infringes the 070 Patent. Reynolds Vapor has

had knowledge of the 070 Patent since at least the filing of this lawsuit and knew or

should have known that the use of the Accused VELO Products by its customers directly

infringes. The Accused VELO Products infringe as shown above. Reynolds Vapor on its

website and in the Accused VELO Products’ packaging, direct, instruct, and encourage

customers of the Accused VELO Products to use the Accused VELO Products in an




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infringing manner. See https://www.velo.com/footer-links/faq.html (“How Do I Use

VELO Nicotine Pouches?”).




        The Accused VELO Products (Instructions For Use Printed on Lid Wall)

       247.   Reynolds Vapor also contributes to infringement of the 070 Patent under 35

U.S.C. § 271(c). Reynolds Vapor has had knowledge of the 070 Patent since at least the

filing of this lawsuit and knew or should have known that the use of the Accused VELO

Products by its customers directly infringes. The Accused VELO Products, including but

not limited to the VELO container and lid, has no substantial non-infringing uses, is not a

staple article of commerce, and is specially made and adapted for use in an infringing




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manner. For example, the Accused VELO Products infringe as shown above. See

container labeling (“Sealed For Freshness”).

       248.   Reynolds Vapor’s infringement of the 070 Patent has been and continues to

be deliberate, willful, and unlicensed, permitting Plaintiffs to seek enhanced damages

under 35 U.S.C. § 284.

       249.   Reynolds Vapor’s infringement of the 070 Patent has been and continues to

be deliberate, willful, and unlicensed, rendering this an exceptional case and permitting

Plaintiffs to seek attorney fees and costs under 35 U.S.C. § 285.

       250.   As a direct and proximate result of Reynolds Vapor’s infringement of the

070 Patent, Plaintiffs have suffered monetary damages in an amount yet to be

determined.


                                PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs pray for relief against Defendant as follows:

       (a)    A judgment that Defendant has infringed and is infringing each of the

Asserted 242, 824, 517, 269, 541, 357, 319, 996, and 070 Patents;

       (b)    A judgment that Defendant has contributed to and induced infringement of

each of the Asserted 242, 824, 517, 269, 541, 357, 319, 996, and 070 Patents, and is

actively contributing to and inducing infringement of each of the Asserted 242, 824, 517,

269, 541, 357, 319, 996, and 070 Patents;




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      (c)    An award of damages adequate to compensate Plaintiffs for the

infringement that has occurred, under 35 U.S.C. § 284, including with pre-judgment and

post-judgment interest;

      (d)    An award of treble damages for Defendant’s willful infringement of the

Asserted Patents, pursuant to 35 U.S.C. § 284;

      (e)    An accounting and/or supplemental damages for all damages occurring

after any discovery cutoff and through the Court’s decision regarding imposition of a

compulsory ongoing royalty;

      (f)    An award of attorneys’ fees, expenses and costs based on this being an

exceptional case under 35 U.S.C. § 285, including prejudgment interest on such fees,

expenses and costs;

      (g)    Costs and expenses in this action; and

      (h)    Such other and further relief as the Court deems just and equitable.


                                      JURY DEMAND

      Plaintiffs request a trial by jury as to all issues so triable.

 Dated: May 28, 2020                        Respectfully submitted,

                                            /s/ Robert C. Van Arnam               s
                                            Robert C. Van Arnam
                                            N.C. Bar No. 28838
                                            Andrew R. Shores
                                            N.C. Bar No. 46600
                                            WILLIAMS MULLEN
                                            301 Fayetteville Street, Suite 1700
                                            Raleigh, NC 27601
                                            Tel: (919) 981-4000



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                               Elizabeth S. Weiswasser *
                               Anish R. Desai *
                               WEIL, GOTSHAL & MANGES LLP
                               767 5th Avenue
                               New York, NY 10153
                               Tel: (212) 310-8000

                               Brian E. Ferguson *
                               Robert T. Vlasis III *
                               W. Sutton Ansley *
                               Stephen P. Bosco *
                               Stephanie Adamakos *
                               WEIL, GOTSHAL & MANGES LLP
                               2001 M Street, NW, Suite 600
                               Washington, DC 20036
                               Tel: (202) 682-7000

                               Adrian C. Percer *
                               Robert S. Magee *
                               WEIL, GOTSHAL & MANGES LLP
                               201 Redwood Shores Parkway
                               Redwood Shores, CA 94065
                               Tel: (650) 802-3000

                               Counsel for Plaintiffs Altria Client Services
                               LLC and U.S. Smokeless Tobacco Company
                               LLC

                               * Special Appearance Under Local Rule
                               83.1(d) in process




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